::~s:,~::::m                        G,JP..-.b.rei•~~~~~=C~~!~.~~!~~ ""'"' ofpkOOi!?':.;;~~~~1,w, ~'°'' ~
                                       Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 1 of 11
                        ohoct
provided bY, local. rules of.court. This form, approved by the Judicial Conference of the Umted States m September 1974, 1s required fl • h '·' · e of the                                 le~of 1~u1f&r         t,V,9
purpose ofm1ttatmg the ClVll docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)                                                •   .                                                U"i "''~ ,~ ,~
I. (a) PLAINTIFFS                                                                                                   DEFENDANTS
            SHANNA GARNER                                                                                           ADVANCED CALL CENTER TECHNOLOGIES, LLC



    (b)                                                                                                             County of Residence of First Listed Defendant
                                                                                                                                                  (IN US. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:                       JN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephon                  Number)                                         Attorneys (If Known)
            CRAIG THOR KIMMEL, KIMMEL & SI VE                                  AN, P.C.
            30 EAST BUTLER PIKE, AMBLER, PA 1 2
            PHONE: (215) 540-8888 EXT. 116


II. BASIS OF JURIS                                                                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                                (For Diversity Cases Only)                                             and One Box/or D~fendant)
0 I       U.S. Government                                ral Question                                                                    PTF         DEF                                             PTF       DEF
             Plaintiff                                  .S. Government Not a Party)                        Citizen of This State          0 I        0 I       Incorporated or Principal Place        0 4      0 4
                                                                                                                                                                 of Business In This State

0 2       U.S. Government                                                                                  Citizen of Another State          02       0    2   Incorporated and Principal Place          0               05
             Defendant                                                                                                                                            of Business In Another State

                                                                                                           Citizen or Subject of a           03       0        Foreign Nation                            0   6           06
                                                                                                             Foreign Country
IV. NATURE OF SUIT                              (Place an "X" in One Box Only)
                                                                                                           !lfli0&EElii'iJ$ElEEi';i'A':i1.tf*I!:fl iftlf!i!B!WKR1!1m~¥l~i'il1l 'l•*~~'iJlill:~smaml:lmE's!llfii~~1
0 llO Insurance                               PERSONAL INJURY                  PERSONAL INJURY                0 625 Drug Related Seizure           0 422 Appeal 28 USC 158     0 375 False Claims Act
0120 Marine                                 0 310 Airplane                 0 365 Personal Injury -                    ofProperty21USC881        0 423 Withdrawal                      0   400 State Reapportionment
0 130 Miller Act                            0 315 Airplane Product                   Product Liability        0690 Other                              28 USC 157                      0   410 Antitrust
0 140 Negotiable Instrument                        Liability               0 367 Health Care/                                                                                         0   430 Banks and Banking
0 150 Recovery of Overpayment               0 320 Assault, Libel &                  Pharmaceutical                                              ~ili~R:©:P;F;it'iJ~R"'.rl~I'tffiiilfl~~ili~ eConunerce
      & Enforcement of Judgment                    Slander                          Personal Injury                                             0 820 Copyrights                                 Deportation
0 151 Medicare Act                          0 330 Federal Employers'                Product Liability                                           0830 Patent                                      Racketeer Influenced and
0 152 Recovery of Defaulted                        Liability               0 368 Asbestos Personal                                              0 840 Trademark                   /               oITUpt Organizations
      Student Loans                         0 340 Marine                             Injury Product                                                                                   12:::1 480 ~onsumer Credit
      (Excludes Veterans)
0 153 Recovery of Overpayment
      of Veteran's Benefits
0 160 Stockholders' Suits
0 190 Other Contract
                                            0 345 Marine Product


                                            0  355
                                                   Liability
                                            D 350 Motor Vehicle
                                                   Motor  Vehicle
                                                   Product Liability
                                                                                     Liability
                                                                             PERSONAL PROPERTY 0 710 Fair Labor Standards
                                                                           0 370 Other Fraud
                                                                           0 371 Truth in Lending
                                                                           0 380 Other Personal
                                                                                                                      Act
                                                                                                              0 720 Labor/Management
                                                                                                                      Relations
                                                                                                                                                D 861 HIA (1395ff)
                                                                                                                                                0 862 Black Lung (923)
                                                                                                                                                0 863 DIWC/DIWW (405(g)
                                                                                                                                                0 864 SSID Title XVI
                                                                                                                                                                                )L    [Z'·""""'
                                                                                                                                                                                      0
                                                                                                                                                                                              Securities/Commodities/
                                                                                                                                                                                              Exchange
                                                                                                                                                                                              Other Statutory Actions
                                                                                                                                                                                          891 Agricultural Acts
0 195 Contract Product Liability            0 360 Other Personal                    Property Damage           0 740 Railway Labor Act           0 865 RSI (405(g))                    0   893 Environmental Matters
0 196 Franchise                                                            0 385 Property Damage              0 751 Family and Medical                                                0   895 Freedom oflnformation
                                            D                                       Product Liability                 Leave Act                                                               Act
                                                      Medical'                                                0 790 Other Labor Litigation                                            0   896 Arbitration
:ll't~iEi~RW;{!l!flif?~~l{e~lll!l.liftiil                                  fl~~)S'!il:~~E.l!f;tllJitifi!l!l$~ 0791 Employee Retirement          ~il)Jllel)~'.Jlitl~'!l;~S,!ni!!S!&.~~ 0   899 Administrative Procedure
 0 21 0 Land Condemnation                   D     440 Other Civil Rights        Habeas Corpus:                       Income Security Act        0 870 Taxes (U.S. Plaintiff                   Act/Review or Appeal of
 0 220 Foreclosure                          0     441 Voting               0 463 Alien Detainee                                                          or Defendant)                        Agency Decision
 0 230 Rent Lease & Ejectment               0     442 Employment           0 510 Motions to Vacate                                              0 871 IRS-Third Party                 0   950 Constitutionality of
0 240 Torts to Land                         0     443 Housing/                      Sentence                                                             26 USC 7609                          State Statutes
0 245 Tort Product Liability                          Accommodations       0 530 General
0 290 All Other Real Property               0     445 Amer. w/Disabilities 0 535 Death Penalty                f,~{l:~~IM:NllGR~SUI()~[~~~l?/~
                                                      Employment                Other:                        O qoL NaturaJ1zat10n Apphcahon
                                            0     446 Amer. w/Disabilities 0 540 Mandamus & Other 0 465 Other Immigration
                                                      Other                0 550 Civil Rights                        Actions
                                            0     448 Education            0 555 Prison Condition
                                                                           0 560 Civil Detainee -
                                                                                    Conditions of
r-...
v. )RIG IN
      1                (Place an "X" in One Box Only)
                                                                                    Confinement


~ I Priginal                 LJ 2 Removed from                LJ 3 Remanded from                   LJ4     Reinstated or      LJ 5 Transferred from LJ 6                 Multidistrict
          Proceeding              State Court                      Appellate Court                         Reopened                Another District                      Litigation
                                                                                                                                        (specify)
                                                Cite the U.S. Civil Statute under which you are filing (Do not cite juristlictional statutes unless tliversity):
\.JcAUSEOF                                       15 U.S.C. § 1692 et sea.
 ACTION                                         Brief description of cause:
                                                FAIR DEBT COLLECTION PRACTICES ACT
VII. REQUESTED IN                               D CHECK IF THIS IS A CLASS ACTION                       DEMAND$                                       CHECK YES only if dr[an~s in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:         [8J s     0 No
VIII. RELATED CASE(S)                                                                                                                                                                     '-"""
      IF ANY                                       (See instructions)."
                                                                                                                                   - - - - - DOCKET NUMBER                                 JUN 10 2015
DATE


FOR OFFICE USE ONLY

   RECEIPT#                            AMOUNT                                     APPL YING IFP                                      JUDGE                              MAG. JUDGE
                                               r-c . - -,
                          Case 2:15-cv-03254-GJP
                                .             ~, \ UNITEDDocument 1 Filed COURT
                                                                          06/10/15 Page 2 of 11
                                 ,. \r.! , l .JI         STATES DISTRICT

FOR THE EASTERN DIS
                                       -.J~-   \.:   J
                                       ~~~§JYLVf<\.NIA-DESIGNATION                  FORM to be used by counsel to indicate t'\lifa.ory of the case for the purpose of


AddressofPiaintiff: 27
                                      ~
                             Vi'k'ing Lane, "Levittown,
                                                .       PA                                 19054
                                                                                                                                    AU                     3n54
                                                                                                                                                            ~ ;
Ad<lressofDefendant:1235            Westlakes Drive, Suite                              160,       Berwyn, PA               19312

Place of Accident, Incident or T r a n s a c t i o n : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                          (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 1                   ore of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                   YesD           o~

Does this case involve multidistrict litigation possibilities?                                                                  YesD
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date Terminated: _ _ _ _ ___,~_.,,__ _ _ _ _ _ _ _ _ __

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD       Noli!
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               YesD       NoM
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
   terminated action in this court?                                                                                             YesD          No~

4. Is this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                YesD           No~

CIVIL: (Place   t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                               B. Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                      1. o Insurance Contract and Other Contracts
2. o FELA                                                                                               2. o Airplane Personal Injury
3. o Jones Act-Personal Injury                                                                          3. o Assault, Defamation
4. o Antitrust                                                                                          4. o Marine Personal Injury
5. o Patent                                                                                             5. o Motor Vehicle Personal Injury
6. o Labor-Management Relations                                                                         6. o Other Personal Injury (Please specify)
7. o Civil Rights                                                                                       7. o Products Liability
8. o Habeas Corpus                                                                                      8. o Products Liability -             Asbestos
9. o Securities Act(s) Cases                                                                            9. o All other Diversity Cases
1\'Jocial Security Review Cases                                                                                  (Please specify)
11 a,::   11 other Federal Question Cases
          leasespecify)15       u.s.c. § 1692                    et seq.

                                                                 ARBITRATION CERTIFICATION
                                                                        (Check Appropriate Category)
I, Craig Thor Kimmel                                        , counsel ofrecorddo hereby certify:
   D Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that tot best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
   o Relief other than monetary damages is sought.

DATE: 0 6 - 10 - 15                                                                                                                       57100
                                                            Attorney-at-Law                                                              Attorney I.D.#
                                        NOTE: A trial de novo will be a/6.1 by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related t~ y case now pending or within one year previously terminated action in this court
except as noted above.                                           //

DATE: 0 6 - 10 - 15                                                                                                                   57100
                                                                                                                                                               JUN 10 201!
                                                                                                                                    Attorney l.D.#
CN. 609 (5/2012)
             Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 3 of 11
             \~Cf~
             '.'--~\,"' . IN THE UNITED STATES DISTRICT COURT
             ~ ~ . FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                       "
                     CASE MANAGEMENT TRACK DESIGNATION FORM
        \•

                                                                             CIVIL ACTION
        SHANNA GARNER
                   v.
       ADVANCED CALL CENTER
                                                                            ll
                                                                             NO.
       TECHNOLOGIES, LLC
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration-Cases required to be designated for arbitration under Local Civil Rule 53.2.@
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management-Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )

(f) Standard Management - Cases th t do not fall into any one of the other tracks.                  ( )


06-10-15                                                           Plaintiff, Shanna Garner
Date                                       ey-at-law                  Attorney for
215-540-8888 x 116             877-788 2864                           kimmel@creditlaw.com

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02




                                                                                       JUN 10 2015.
                Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 4 of 11



                           U~ITED
                                STATES DISTRICT COURT
                                   FOR THE
 2                     EASTERN DISTRICT OF PENNSYLVANIA
 3

 4   SHANNA GARNER,                          )
                                             )
 5                 Plaintiff
                                             ))             11         325:4
 6
           v.                                ) Case No.:
 7                                           )
     ADVANCED CALL CENTER                    ) COMPLAINT AND DEMAND FOR
 8
     TECHNOLOGIES, LLC,                      ) JURYTRIAL
 9                                           )
     ~~~~-D_e_fi_en_d_a_nt~~~~~-)
10

11
                                       COMPLAINT
12

13
           SHANNA GARNER ("Plaintiff'), by and through her attorneys, KIMME

14   &   SILVERMAN, P.C., alleges the following against ADVANCED CAL
15
     CENTER TECHNOLOGIES, LLC ("Defendant"):
16
                                     INTRODUCTION
17

18         1.      Plaintiffs Complaint is based on the Fair Debt Collection Practices

19   Act, 15 U.S.C. § 1692 et seq. ("FDCPA").
20
                               JURISDICTION AND VENUE
21
           2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
22

23   which states that such actions may be brought and heard before "any appropriate

24   United States district court without regard to the amount in controversy," and 28
25




                                    PLAINTIFF'S COMPLAINT
                    Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 5 of 11



     U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising

2    under the laws of the United States.

 3
           3.          Defendant has an office and conducts business in the Commonwealth
4
     of Pennsylvania and as such, personal jurisdiction is established.
 5

 6
           4.          Venue is proper pursuant to 28 U.S.C. §§ 139l(b)(2).

 7                                            PARTIES
 8
           5.          Plaintiff is a natural person residing m Levittown, Pennsylvania
 9
     19054.
10

11         6.          Plaintiff is a "person" with standing to bring this suit pursuant to 15

12   U.S.C. §1692k(a).
13
           7.          Defendant is a debt collection company with its principal place of
14
     business located at: 1235 Westlakes Drive, Suite 160, Berwyn, Pennsylvania
15

16   19312.

17             8.      Upon information and belief, Defendant is a corporation that provides
18
     call center, collections and debt purchase services to companies in the United
19
     States.
20

21         9.          At all times material hereto, Defendant acted as a "debt collector"
22
     within the meaning of 15 U.S.C. § 1692(a)(6), and repeatedly contacted Plaintiffi
23
     its attempts to collect a "debt" as defined by 15 U.S.C. § 1692(a)(5) for anothe
24

25
     person.


                                                   2

                                        PLAINTIFF'S COMPLAINT
                 Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 6 of 11



            10.     Defendant acted through its agents, employees, officers, members,

 2   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 3
     representatives, and insurers.
 4
                                 FACTUAL ALLEGATIONS
 5

 6
            11.     Upon information and belief, at all pertinent times hereto, Defendant

 7   was hired to collect a consumer debt and contacted Plaintiff in an attempt to
 8
     collect that debt.
 9
            12.     Upon information and belief, Defendant collects, and attempts to
10

11   collect, debts incurred, or alleged to have been incurred, for personal, family, or

12   household purposes on behalf of creditors using the U.S. Mail, telephone and/or
13
     internet.
14
            13.     Upon information and belief, the alleged debt Defendant was seeking
15

16   to collect arose out of transactions that were primarily for personal, family, or

17   household purposes.
18
            14.     Beginning in September 2014, and continuing through October 2014,
19
     Defendant repeatedly contacted Plaintiff on her cellular telephone in its attempts
20

21   to collect a debt of another person.
22
            15.     Plaintiff knew it was Defendant calling because she has spoken with
23
     its collectors and its number appeared on her caller id.
24

25
            16.     Defendant called Plaintiff, on average, once a day.


                                                3

                                      PLAINTIFF'S COMPLAINT
              Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 7 of 11



            17.   In those instances when the parties spoke, Defendant's collectors

 2   claimed they were calling to collect a debt of a person, other than Plaintiff.
 3
            18.   On at least one occasion, Plaintiff informed Defendant that it was
 4
     calling the wrong number and to stop calling her, as its calls were to her
 5

 6
     inconvenient and wasteful of her cellular telephone minutes.

 7          19.   However, Defendant did not remove Plaintiff's cellular telephone
 8
     number from its database.
 9
            20.   Rather, Defendant continued to call Plaintiff in its attempts to collect
10

11   a debt of a third person, despite knowing it was calling the wrong person.

12          21.   When Defendant was told that it was calling the wrong number, there
13
     was no purpose for additional calls to Plaintiff except to harass, annoy or abuse
14
     Plaintiff.
15

16          22.   Defendant failed to update its records and/or failed to investigate the

17   information provided by Plaintiff to avoid further harassment.
18
            23.   Most recently, Defendant called Plaintiff on: September 29, 2014, at
19
     12:38 p.m. and 12:39 p.m.; September 30, 2014, at 12:35 p.m. and 5:22 p.m.;
20

21   October 1, 2014, at 3:22 p.m.; October 3, 2014, at 5:29 p.m.; October 4, 2014, at

22   8:59 a.m.; October 6, 2014, at 5:56 p.m.; October 7, 2014, at 8:16 p.m.; October 8,
23
     2014, at 5:43 p.m.; October 9, 2014, at 10:29 am. And 5:23 p.m.; and October 10,
24

25
     2014, at 12:35 p.m.


                                                4

                                    PLAINTIFF'S COMPLAINT
               Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 8 of 11



                              DEFENDANT VIOLATED THE
                        FAIR DEBT COLLECTION PRACTICES ACT
 2
                                              COUNT I
 3

4            24.   Defendant's conduct, detailed in the preceding paragraphs, violated

 5   15   u.s.c. § 1692b(3).
 6
                   a.     Section 1692b(3) of the FDCPA prohibits a debt collector from
 7
                          communicating with any person other than a consumer more
 8

 9                        than once unless requested to do so by such person or unless

10                        the debt collector reasonably believes that the earlier response
11
                          of such person is erroneous or incomplete and that such person
12
                          now has correct or complete location information.
13

14                 b.     Here, Defendant violated § l 692b(3) of the FDCPA by
15
                          communicating with Plaintiff more than once about another
16
                          person's debt, despite having been notified that it was calling
17

18
                          the wrong person and that Plaintiff did not want to receive its

19                        collection calls.
20
                                              COUNT II
21
             25.   Defendant's conduct, detailed in the preceding paragraphs, violated 15
22

23   U.S.C. §§ 1692d and 1692d(5).

24                 a.     Section 1692d of the FDCPA prohibits debt collectors fro
25
                          engaging in any conduct the natural consequence of which is t

                                                 5

                                      PLAINTIFF'S COMPLAINT
             Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 9 of 11



                       harass, oppress, or abuse any person in connection with th

 2                     collection of a debt.
 3
                 b.    Section 1692d(5) of the FDCPA prohibits debt collectors fro
4
                       causing a telephone to ring or engaging any person in telephon
 5

 6
                       conversation repeatedly or continuously with intent to annoy,

 7                     abuse, or harass any person at the called number.
 8
                 c.    Here, Defendant violated §§ 1692d and 1692d(5)
 9
                       FDCPA when it called Plaintiff, on average, once a day t
10

11                     collect the debt of another person, as well as continuing to cal

12                     Plaintiff after it was informed that it was calling the wron
13
                       person.
14
                                        COUNT III
15

16         26.   Defendant's conduct, detailed in the preceding paragraphs, violated 15

17   U.S.C. § 1692f.
18
                 a.    Section l 692f of the FDCP A prohibits debt collectors fro
19

20                     using unfair or unconscionable means to collect or attempt t
21                     collect any debt.
22
                 b.    Here, Defendant violated § 1692f of the FDCPA by failing t
23

24
                       update its records to avoid the further harassment of Plaintif

25                     after having been told it was calling the wrong person, as wel


                                               6

                                  PLAINTIFF'S COMPLAINT
              Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 10 of 11



                           as failing to remove Plaintiff's number from its call logs, a

 2                         evidenced by its continued calls to Plaintiff.
 3
            WHEREFORE, Plaintiff, SHANNA GARNER, respectfully prays for
 4
     judgment as follows:
 5

 6
                   a.      All actual damages suffered pursuant to            15 U.S.C.    §

 7                         1692k(a)(l );
 8
                   b.      Statutory damages of $1,000.00 for the violation of the FDCP
 9
                           pursuant to 15 U.S.C. § 1692k(a)(2)(A);
10

11                 c.      All reasonable attorneys' fees, witness fees, court costs an

12                         other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
13
                           § 1693k(a)(3); and
14
                   d.      Any other relief deemed appropriate by this Honorable Court.
15

16                              DEMAND FOR JURY TRIAL
17          PLEASE TAKE NOTICE that Plaintiff, SHANNA GARNER, demands
18
     jury trial in this case.
19

20

21

22

23

24

25



                                                  7

                                      PLAINTIFF'S COMPLAINT
             Case 2:15-cv-03254-GJP Document 1 Filed 06/10/15 Page 11 of 11



                                         RESPECTFrn/Y UBMITTED,

 2   Date:   :)0/ {O/ I\                 By: _ _  ~_/_-1-----­
                                            CRAIG THO KIMMEL
 3
                                            Attorney ID No. 57100
 4                                          Kimmel & Silverman, P.C.
                                            30 E. Butler Pike
 5                                          Ambler, PA 19002
 6
                                            Phone: (215) 540-8888
                                            Fax: (877) 788-2864
 7                                          Email: kimmel@creditlaw.com
 8

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                                 PLAINTIFF'S COMPLAINT
